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DOCKET NO. 473

 

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE BRADSHAW AVIATION INSURANCE LITIGATION

ORDER DENYING TRANSFER

Presently before the Panel is a motion, pursuant to
28 U.S.C. §1407, brought by E.G. Bradshaw (an individual
named as a defendant in the two actions listed on the attached
Schedule A) and his wife (an individual named as a defendant
in the Central District of California action listed on Schedule
A) for centralization of the two actions on Schedule A in
a Single district for coordinated or consolidated pretrial
proceedings.

On the basis of the papers filea,i/ we find that Section
1407 transfer would neither serve the convenience of the
parties and witnesses nor further the just and efficient
conduct of the litigation. Given the minimal number of
actions before us, movants have failed to persuade us that
any common questions of fact involved in these actions are
sufficiently complex, and that the accompanying discovery
will be so time-consuming, as to justify Section 1407 transfer.
See In re Scotch Whiskey Antitrust Litigation, 299 F. Supp.
543, 544 (J.P.M.L. 1969). We note that suitable alternatives
to transfer exist in order to minimize the possibility of
duplicative discovery and/or conflicting pretrial rulings.
See, e.g., In re Eli Lilly and Company (Cephalexin Monohydrate)
Patent Litigation, 446 F. Supp. 242, 244 (J.P.M.L. 1978).
See also Manual for Complex Litigation, Parts I and II,
§§3.11 (rev. ed. 1977).

 

 

 

 

 

IT IS THEREFORE ORDERED that the motion for transfer
pursuant to 28 U.S.C. §1407 be, and the same hereby is,

DENIED.
THE PANEL:
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Andrew A. Caffrey
Chairman

 

 

l/ The parties to this docket waived their right to oral
argument and therefore the question of transfer under 28

U.S.C. §1407 was submitted on the briefs. Rule 14, R.P.J.P.M.L.,

89 F.R.D. 273, 283-84 (1981).
 

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See also Manual for Complex Litigation, Parts I and II,
§§3.11 (rev. ed. 1977).

 

 

 

IT IS THEREFORE ORDERED that the motion for transfer
pursuant to 28 U.S.C. §1407 be, and the same hereby is,

DENTED.
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é VB. Copy,

Andrew A. Caffrey /
Chairman

 

 

1/ The parties to this docket waived their right to oral
argument and therefore the question of transfer under 28

U.S.C. §1407 was submitted on the briefs. Rule 14, R.P.JU.P.M.L.,
89 F.R.D. 273, 283-84 (1981).
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SCHEDULE A

MDL-473 -- In re Bradshaw Aviation Insurance Litigation

CENTRAL DISTRICT OF CALIFORNIA
Paul M. Roth, et al. v. E.G. Bradshaw, Civil Action No.
et al. 80-047 97—-AAH (Kx)
WESTERN DISTRICT OF NORTH CAROLINA

National Aviation Underwriters v. Civil Action No.
E.G. Bradshaw, et al. A-C 80-0224
